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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 11-0504CCC
 1) EDWIN SUAREZ-RIVERA
 2) CARLOS JAVIER RODRIGUEZ-MOJICA
 Defendants


                                            ORDER

       Having considered the Report and Recommendation filed on May 30, 2012 (docket
entry 64) on a Rule 11 proceeding of defendant Carlos Javier Rodríguez-Mojica (2) held
before U.S. Magistrate Judge Bruce J. McGiverin on May 30, 2012, to which no objection
has been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since May 30, 2012. The sentencing hearing is set for August 30,
2012 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on June 19, 2012.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
